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OF TEXAS






NO. WR-81,501-01






EX PARTE CAMERON BERNARD THOMAS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1413835-A IN THE 232ND  DISTRICT COURT


FROM HARRIS COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of cocaine and
sentenced to one year imprisonment in a state jail.  He did not appeal his conviction. 

	Applicant contends that there were no illegal substances present in the contraband he was alleged
to have possessed. 

	Applicant's claim is supported by the habeas record. Applicant is entitled to relief.

	Relief is granted.  The judgment in Cause No. 1413835-A in the 232nd District Court of Harris
County is set aside, and Applicant is remanded to the custody of the Sheriff of Harris County to answer
the charges as set out in the indictment.  The trial court shall issue any necessary bench warrant within 10
days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: June 25, 2014

Do not publish


